To His Excellency Elisha Dyer, Governor of the State of Rhode Island and Providence Plantations:
We have received Your Excellency's communication requesting our opinion whether, in view of Gen. Laws R.I. cap. 39, §§ 1, 9,1 a town-meeting can elect the members of the town council, and transact such other business as is legally before such meeting, before the balloting for the town clerk is completed, in case it is desired to keep the polls open all *Page 785 
day for the election of the town clerk, in whose case there is a contest, or must the election of the town council and the transaction of other business be postponed to a subsequent day until after the election of the town clerk is determined?
In reply permit us to say that Gen. Laws R.I. cap. 39, provides an orderly procedure for the election of town officers. Our opinion is that it should be followed; and, consequently, that the election of the town council cannot regularly and properly be held before the balloting for the town clerk has been completed.
                                          CHARLES MATTESON, JOHN H. STINESS, PARDON E. TILLINGHAST, GEORGE A. WILBUR, HORATIO ROGERS, WILLIAM W. DOUGLAS, BENJAMIN M. BOSWORTH.
NOTE. — The following cases, not hitherto reported, owing to the importance to the bar of the points determined therein, are reported at this time. — REPORTER.
1 SEC. 1. The electors in each town shall annually, on their town election days, choose and elect as many town officers as by the laws of the State are or shall be required; that is to say, a moderator to preside in all the meetings of the town, and a town clerk, a town council, c.
SEC. 9. The members of the town council shall be chosen next in order after the election of town clerk.